873 F.2d 1438Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert Dale GENENS, Plaintiff-Appellant,v.W.G. WOODARD;  Captain Rednower;  Cliff Mallard, Defendants-Appellees.
    No. 88-7779.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Dec. 30, 1988.Decided:  April 5, 1989.
    
      Robert Dale Genens, Appellant Pro Se.
      Before DONALD RUSSELL, MURNAGHAN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Robert Dale Genens appeals the district court's dismissal of his 42 U.S.C. Sec. 1983 action for failure to pay the assessed filing fee.  We find that the district court complied with the procedures approved in Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and did not abuse its discretion in dismissing the action.  Pursuant to 28 U.S.C. Sec. 2106, however, we modify the district court's judgment to show that the action is dismissed without prejudice.  Genens may refile his complaint upon payment of any new fee imposed.  Leave to proceed in forma pauperis is granted and the judgment of the district court is affirmed as modified.
    
    
      2
      We dispense with oral argument because the facts and legal arguments are adequately presented in the material before the Court and oral argument would not significantly aid the decisional process.
    
    
      3
      AFFIRMED AS MODIFIED.
    
    